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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

                                   GRAND JURYN-19-2

UNITED STATES OF AMERICA                            -RIMJ AL N . 3:_0cr-=--~ff-y}(RAR.)

       V.                                          VIOLATION:

                                                   18 U.S.C. §§ 922(g)(l) and 924(a)(2)
TYRELL COX-HENDERSON and                           (Unlawful Possession of a Firearm by a
ALLEN LUSMAT                                       Convicted Felon)



                                       INDICTMENT

       The Grand Jury charges:

                                     COUNT ONE
                 (Unlawful Possession of a Firearm by a Convicted Felon)

       1.      On or about April 10, 2019, in the District of Connecticut, the defendant

TYRELL COX-HENDERSON, having been, and knowing that he had been, .convicted in

the Superior Court of the State of Connecticut of a crime punishable by imprisonment for a

term exceeding one year, that is: (a) Burglary in the Third Degree, in violation of Conn. Gen.

Stat. § 53a-103, on or about December 13, 2017; (b) Possession of a Weapon or Dangerous

Instrument in a Correctional Institution, in violation of Conn. Gen. Stat. § 53a-174a, on or

about February 11, 2014; and (c) Conspiracy to Commit Robbery in the Third Degree, in

violation of Conn. Gen. Stat.§ 53a-136, on or about February 11, 2014, did knowingly

possess a firearm in and affecting interstate commerce, namely, a .357 caliber Smith and

Wesson revolver bearing serial number AVV9999, which had been shipped and transported

in interstate and foreign commerce.

       In violation of Title 18, United States Code, Sections 922(g)(l) and 924( a)(2).
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                                    COUNT TWO
                (Unlawful Possession of a Firearm by a Convicted Felon)

       2.      On or about April 10, 2019, in the District of Connecticut, the defendant

ALLEN LUSMA T, having been, and knowing that he had been, convicted in the Superior

Court of the State of Connecticut of a crime punishable by imprisonment for a term

exceeding one year, that is: (a) Carrying a Pistol Without a Permit, in violation of Conn.

Gen. Stat. § 29-35(a), on or about May 3, 2016; (b) Possession of a Weapon in a Motor

Vehicle, in violation of Conn. Gen. Stat. § 29-38, on or about May 3, 2016; (c) Criminal

Possession of a Weapon, in violation of Conn. Gen. Stat. § 53a-217, on or about May 3,

2016; (d) Assault in the Second Degree, in violation of Conn. Gen. Stat. § 53a-60, on or

about January 11, 2011; and (e) Burglary in the Third Degree, in violation of Conn. Gen.

Stat.§ 53a-103, on or about April 8, 2010, did knowingly possess a firearm in and affecting

interstate commerce, namely, a .357 caliber Smith and Wesson revolver bearing serial

number AVV9999, which had been shipped and transported in interstate and foreign

commerce.

       In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(2).




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                              FORFEITURE ALLEGATION
                                  (Firearms Offense)

       3.      Upon conviction of the offenses respectively alleged in this Indictment, i.e.,

Count One as to defendant TYRELL COX-HENDERSON and Count Two as to defendant

ALLEN LUSMAT, said convicted defendant(s) shall forfeit to the United States, pursuant

to Title 18, United States Code, Section 924( d), and Title 28, United States Code, Section

2461(c), all firearms and ammunition involved in the commission of the offense, including

but not limited to the following: a .357 caliber Smith and Wesson revolver bearing serial

number A VV9999 and all ammunition seized with that firearm.

       All in accordance with Title 18, United States Code, Section 924( d); Title 28,

United States Code, Section 2461(c), Title 21, United States Code, Section 853, and Rule

32.2(a) of the Federal Rules of Criminal Procedure.



                                             A TRUE BILL

                                                         /s/

                                             FOREPERSON

UNITED STATES OF AMERICA




                            •D STATES ATTORNEY




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